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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
AMERICANS FOR PROSPERITY             )
FOUNDATION,                          )
                                     )
            Plaintiff,               )
                                     )
      v.                             )    Civil Action No. 21-2021 (CJN)
                                     )
CENTERS FOR MEDICARE AND             )
MEDICAID SERVICES,                   )
                                     )
            Defendant.               )
____________________________________)

                                    [PROPOSED] ORDER

       Upon consideration of Plaintiff’s motion to exclude Defendant’s ex parte and sealed

declaration, it is hereby ORDERED that the motion is GRANTED. It is FURTHER ORDERED

that the ex parte declaration be excluded from the record and stricken from the docket.

       SO ORDERED.



Dated:_________________                             ___________________________________
                                                    The Hon. Carl J. Nichols
                                                    United States District Judge
